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                     F9R THE W ESTERN DISTRICT OF VIRGINIA                     J L? .DU         LERK
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  JEFFERY T.GARRIS,
        Plaintiff,                                Case N o.5:17-cv-38



  933387 O N TARTO LTD .,ttal.y
                                                  By:   M ichaelF.U rbansld
        D efendants.                                    ChiefUnited StatesDistrictludge


  KAREN J.GARRIS,
        Plaintiffy                                Case N o.5:17-cv-39



  933387 ON TARIO LT D .,etal.y
                                                  By:   M ichaelF.U rbansld
        D efendants.                                    ChiefUnited StatesDistrictludge


                             M E M O RAN D U M O PIN IO N

        Tiaism attetcom esbefore the colzrton D efendants'm odon in lim ine,ftled on

  N ovember9,2018,to excludeand/orlimitthetestimonyofDr.GeotgeVan Osten on
  Plaindffs'futarem edicalcateand expenses.ECF N o.84;ECF N o.93.Forthereasons

  explained below,D efendants?m otion isG RAN TED .

                                             1.

        Plaintiffshave idendfied D t.Van O sten asan expettexpected to teséfy asto theit

  future tteatm entand thecostofsuch treatm ent.SeeECF N o.16,61;ECF N o.16,66.

  Defendantshavem oved to excludethistestimony on t'wogrounds:1)Plainéffshavefailed


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  tocomplyv4t.11Rule26(a)(2)(B)oftheFederalRulesofCivilProcedure;and2)theproffered
  testim ony istoo speculadve to be adnzissible.Thecourtwilladdressthese t'wo groundsin

  turn.

                                               A.

          Defendant'sflzstobjectiondealswithFedezalRuleofCivilProcedure26(a)(2)(B),
  which requiresallwitrlessespresenting evidence underFederalRuleofEvidence 702,703,or

  705 to prepare and sign awritten report,including the expert'sopinions,thebasisforthese

  opinions,andthefactsanddatausedinfornaingtheopinions.Fed.R.Civ.P.26(a)(2)(B).
  D r.Van O sten,though designated ,asan expertwitness,hasprovided no such report.l

  Plaindffs,in theirm em ozandum in opposition to thism otion,do notcl/im thatD r.Van

  O sten hasatany pointprovided an expertreport.They referonly to D r.Van O sten's

  quav cationsandhishistoryoftreatingKaren andlefferyGarris.ECF No.104,2 - 3.
          D z.Van O sten hastteated 170th plaindffs,wllich would pet-mithim to tesdfyin llis

  capacityasatteadng physician.Treating physiciansare notgenerally reqllired to provide a

  zeportto testify,butare instead lim ited in thei.
                                                  ttestim ony.H allv.S kes,164 F.R.D .46,48-

  49 (E.D.Va.1995).AnyexpertwhoisTfretained oremployed to renderamedicalopinion
  based on factorsthatw ere notlearned in thecourseoftreatnentofthepadent''would have

  to provide the courtwith areport.Id.

          D efendantsargue thatD r.Van O sten isnottesdfying asa treating physician,butasa

  medicalexpert.Dr.Van Osten lasttreatedJefferyGazrisinlanuaryof2018.ECF No.85-1,
  7- 8;ECF N o.94-1,7- 8.H elastsaw K aren G arrisbefore hezperm anentspinalcord

  1A sD efendantspointout, the expettdesignadon doesnotm eettlle cziteria ofan expeztteport.See
  E.C.F.N o.16.


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  stim ulatorwasim planted.ECF N o.85-1,61;ECF N o.94-1,61.D efendantsatgue thatthe

  inform ation D r.V an O sten isusingin histestim ony did notcom efrom tzeatm entofeither

  Karen orlefferyGarrisand wasinsteadpathered from conversationswith Plaintiffs'counsel.
  D efendantsalso clnim thattestim ony aboutfuture m edicaltrea% entand expenses,by its

  verynature,falls outsideofthepurview ofa tzeadng physician.

        Thecotzrtagreeswit.h D efendants.W hileD r.Van O sten m ay testifyasto facts

  learned and opinionsderived from histreatm entofPlaintiffs,hem ay notteséfyabout

  eventsthatocctlrred afterhistteatm ent.An opinion based on inform ation gained outside of

  tteatm entm ustbeoffered by an expertwitness,notatreating physician.M cD onald v.W a1-

  MartStoresEast,LP,2008W L 153782,at*3 (E.D.Va.Jan.14,2008).AsDr.Van Osten
  hasnotprovided an expertreport,hism erely designated testim ony doesnotcom plywith

  Rule26(a)(2)(B).
                                               B.

         D efendantsnextargue thattheproffered testim ony isspeculaéve.lkicev.W illiam s

  statesthatevidenceoffuture m edicalexpensesisonly adtnissibleifffbroughtoutofthe

  realm ofspeculation into thereahn ofzeasonableprobability;the 1aw in thisareadealsin

  fprobabilities'andnotTpossibiliées'.''2017WL 3197242,at*1(W .D.Va.2017)(quodng
  StateFatm M ut.Auto.lns.Co.v.Kendtick,254 Va.206,208- 09,491 S.E.2d 286,287

  (1997:.D efendantspointoutthatduringhisdeposition,Dr.Van Ostenwasam bivalent
  abouttheprobabilityofhisown projecéonsofKaren andlefferyGarris'futtzretreaM ent.
  Finally,D efendantsarguethatPlaintiffscleatly intend D r.V an O sten to calctzlate futute

  m edicalcostson the stand,and thatthisis130th outside ofl'
                                                           lisexperdse and speculadve.


                                                3
Case 5:17-cv-00039-MFU-JCH Document 114 Filed 11/30/18 Page 3 of 5 Pageid#: 1009
        W hiletheexpertdesignationrecommendedlefferyGarrisreceivethreenetve
  denervationsperyear,Dr.VanOstenstatedthathehadnowayofknowingifJefferyGatris
  would need them .ECF 85-1,77;ECF N o.94-1,77.Sim ilarly,the expertdesignation states:

  1)Karen Gartis'spinalcord stimulatorwillstopworkingin 10-15years;2)atthatpoint,she
  willrequirenervedenervations;and 3)shewillrequiretreatmentw1t.
                                                               11Fentanylpatches.ECF
  N o.16,3.D r.Van O sten'sopinion on tlaelifespan ofa spinalcord stim ulatorisnotbased

  on histreatnentofK aren G arris,asitwasimplanted m onthsafterhetreated her.H e

  providesno basisforhisopinion on how m any nerve denervadonsK aren G arriswillrequire

  peryear,andinstead teséfied thatpain managem entisftkedetectivework'?and thathehas
  no way ofpredicéng how m any proceduzesshew ould need,orifshe would need them at

  all.ECF N o.85-1,119;ECF N o.94-1,119.D z.Van O sten also stated he cannotsay what

  dosage ofFentanylK aren G arrism ay need in thefuture.ECF N o.85-1,72;ECF N o.94-1,



        Plaintiffsrespond thatD r.Van O sten isa qualified and skilled pain m anagem ent

  specialist,and thathisopinionsare based on hisown extensive qualihcationsand experience.

  ECF N o.104,2 - 3.D r.V an O sten'squalificationsnotwithstanding,llistestim ony asto the

  futare tteatm entsrem ainsin therealm ofpossibilities,ratherthan probabiliées.D r.Van

  O sten him selfstatesrepeatedly in hisdeposition thathe doesnotknow with any certaintyif

  eitherplaintiffisgoing to need the futuretrea% entsto wllich hetestifies.See ECF N o.85-

  1,72;ECF N o.94-1,72.Fairfax H os italS stem v.Curtisstates,:fA m edicalopinion based

  on afTpossibilitf'isitzelevant,putelyspeculative,and,hence,inadmissible.''249Va.531,




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  535(1995).Dr.VanOsten'stestimonyconcernspossibilities,notprobabilides.I-lis
  tesfim onyregarding future treatm entisspeculative,and thusm ustbe excluded.

                                             II.

        D r.V an O sten m ay testify asto histteatm entoftheplaindffsand theopinions

  reflected in llistrear entrecords.H em ay notofferany tesfim ony asto treatm entofeither

  plaintiffthathasoccurred afterhelastsaw them .H e m ay notteséfy asto possible future

  complicadonsorfuttzretreatmentsKaren orlefferyGarrismayneed,incluingwhen Karen
  G arris'spinalcord stim ulatorwilicease functioning,how m any nerve denervationseither

  Karen orlefferyGarriswillrequire,andwhetherKaren Garriswillrequiretreatment* t.11
  opioids.

        An appropriate orderwillbeentered thisday.



                                           Entered:N ovember30,2018

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